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                                    Virtual Teleconference (VTC)
                                         Access Instructions
                                     Judge Dominguez Braswell


    •    For laptop/PC - From Google Chrome (recommended) on Windows, or Safari on Mac or
         iDevice, click on the Cisco Meeting App link below to join.
         https://meet.uc.uscourts.gov/meeting/617286044?secret=sP.qIkX5dlWqFdXAEJ_Zgg
         Note: Use the default of “Continue with browser” to join the meeting.


    •     For Audio Only:

          - Phone: 571-353-2301, then enter 617286044

  All parties appearing before the Court via VTC are advised of the following Court expectations:

        1) Punctuality. Log in a few minutes before the scheduled start time and follow the VTC
           instructions provided by the Court. Identify yourself when you first log in, so the Courtroom
           Deputy knows who is present.

        2) Video Use. If the Court orders a conference or hearing by VTC, the Court expects a video
           appearance, not a telephone appearance. If you have technical issues or extenuating
           circumstances, please let the Courtroom Deputy know in advance.

        3) Business Attire. An appearance by VTC should be treated as a courtroom appearance.
           Business attire is required. Sweatshirts, gym clothes, Hawaiian shirts, t-shirts, sports team
           jerseys and pajamas are never appropriate.

        4) Distraction-Free Location. Participating in court proceedings virtually is a privilege, especially
           for attorneys and litigants who might otherwise have to travel long distances to appear in
           person. When appearing virtually, please do so from a quiet and stationary position. Silence
           other electronic devices and keep in mind that everything in the background is visible to the
           Court and other participants. Video appearances from inside your car or outdoors are not
           appropriate. If you have extenuating circumstances, please let the Courtroom Deputy know in
           advance.

        5) Mute Button. To prevent any accidental audio distractions, please mute your audio setting
           until it is your turn to speak. If another person is testifying, you may not suggest answers,
           make gestures, or otherwise coach a witness or party from off-camera.

        6) No Food or Other Items. Because a virtual appearance is a courtroom appearance, the Court
           expects professionalism in the virtual courtroom. No one should be eating, smoking, or
           chewing gum during an appearance.
